     Case 2:11-cr-00427-TLN-CKD Document 157 Filed 05/01/14 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,             No.   CR. S-11-427 LKK
12                  Plaintiff,
13         v.                              ORDER
14   ANGELA SHAVLOVSKY,
15                  Defendant.
16

17         The court has received a communication from counsel for

18   defendant Shavlovsky, proposing that he be granted leave to

19   withdraw as counsel because of a conflict.         Counsel is directed

20   to submit a detailed affidavit for the court’s in camera review

21   demonstrating the existence of the conflict.         The affidavit shall

22   be filed no later than 7 days from the date of this order.

23         The matter is now set for a Status Conference as to all

24   defendants on May 13, 2014 at 9:15 a.m.         The parties shall be

25   prepared to discuss severance.

26         IT IS SO ORDERED.

27         DATED:   April 30, 2014.

28
                                          1
